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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              v.

ROGER JASON STONE, JR.,                   Crim. No. 19-018 (ABJ)



                   Defendant




              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon consideration of the unopposed motion of the government, pursuant to

Fed. R. Crim. P. 16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by the defendant,

defendant’s counsel, legal experts, administrative personnel, investigators, data or

accounting analysts, and database processors (defined as the Defense) solely in

connection with the defense of this case, and for no other purpose, and in connection

with no other proceeding, without further order of this Court. Before providing

materials to any member of the Defense, each must be provided with a copy of this

Order and that person must agree in writing to abide by the terms of this Order.

      2.     The Defense shall not share or provide the materials or their contents

directly or indirectly to any person or entity other than persons who are interviewed

as potential witnesses, counsel for potential witnesses, and other persons to whom
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the Court may authorize disclosure (collectively, “authorized persons”). Potential

witnesses and their counsel may be shown copies of the materials as necessary to

prepare the defense, but may not retain copies or create copies without prior

permission of the Court.

      3.     The Defense shall not copy or reproduce the materials except in order to

provide copies of the materials for use in connection with this case by the Defense.

Such copies and reproductions shall be treated in the same manner as the original

materials.

      4.     The Defense and authorized persons shall not disclose any notes or

records of any kind that they make in relation to the contents of the materials and all

such notes or records are to be treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, the Defense must

provide the authorized person with a copy of this Order and that person must agree

in writing to abide by the terms of this Order.

      6.     Upon conclusion of this criminal case, all of the materials and all copies

made thereof shall be disposed of in one of three ways, unless otherwise ordered by

the Court. The materials may be (1) destroyed; (2) returned to the United States; or

(3) retained in defense counsel’s case file. The Court may require a certification as to

the disposition of any such materials. In the event that the materials are retained by

defense counsel, the restrictions of this Order continue in effect for as long as the




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materials are so maintained, and the materials may not be disseminated or used in

connection with any other matter without further order of the Court.

      7.     To the extent any material is produced by the United States to the

Defense by mistake, the United States shall have the right to request the return of

the material and shall do so in writing. Within seven days of such a request, the

Defense shall return all such material if in hard copy, and in the case of electronic

materials, shall certify in writing that all copies of the specified material have been

deleted from any location in which the material was stored.

      8.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials.

      9.     Nothing contained in this Order shall preclude either party from

   applying to this Court for further relief or for modification of any provision hereof.


SO ORDERED the ______ of _______________, 2019



                                  The Honorable Amy Berman Jackson
                                  United States District Judge




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